      Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 1 of 10



                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

LAKEVIEW LOAN SERVICING, LLC       )
                                   )
     Plaintiff,                    )
vs.                                )           CASE NO.:
                                   )
DAVID E. MOBLEY,                   )
AMERICAN NATIONAL HOME             )
MORTGAGE, INC.,                    )
THE GEORGIA DEPARTMENT OF REVENUE, )
THE UNITED STATES                  )
                                   )
     Defendants.                   )

                                COMPLAINT

     Plaintiff sues the Defendants as follows:

    1.      Plaintiff has title to the real property and/or claims

at issue which has standing to bring this suit.

    2.      The Defendants have and/or claim interests in the real

property at issue in this case, adverse to those of Plaintiff.

    3.      Per 28 U.S.C. §1331, §1340, §1346, §2409, §2410, 26

U.S.C. §6321 and §7425, federal jurisdiction exists as Defendant

United States claims tax liens in the real property at issue.

California v. Arizona, 440 U.S. 65-67 (1979); Equity v. Lenz,

420 Fed. Appx. 940, LEXIS 6768 (11th Cir. 2011); Fl. v. Dept. of

Interior,   768   F.2d   1251   (11th   Cir.   1985);   The   tax   lien   of

Defendant Georgia in the real property is subject to those of

the United States, which is not in possession of the property,

to which jurisdiction exists. Bouchard           v. Updegraff, 147 F.3d




                                    1
         Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 2 of 10



1349 (11th Cir. 1998) citing Cal. v. Deep Sea, 118 S. Ct. 1472

(1998) Per 28 U.S.C. § 1367, jurisdiction exists on all claims.

     4.      Personal        jurisdiction          exists    and    is         proper   per

O.C.G.A. § 9-10-91 and/or the Constitution where the Defendants

reside and/or conduct business in Georgia and/or claim ownership

interests in the real property at issue, adverse to Plaintiff.

     5.      Under 28 U.S.C. § 1391 and § 90, venue is proper as the

Defendants reside in this District, where a substantial part of

the events or omissions giving rise to the claim occurred, the

location of the real property at issue.

     6.      The real property at issue is described as:

     ALL THAT TRACT OR PARCEL OF LAND, LYING AND BEING in
     Land Lot 47 of the 14th FF District, Fulton County,
     Georgia, being Lot 22 of Barrow Subdivision, Unit
     Three, as per plat recorded in Plat Book 79, Page 29,
     Fulton County Records, which plat is incorporated
     herein by this reference and made a part of this
     description.

     945 Niskey Lake Circle, S.W., Atlanta, Georgia, 30331

     7.      On 10/20/95, Roderick C. White executed and delivered a

Warranty Deed to Donna L. Wise and Tommy A. Wise, conveying the

Property to them, recorded 10/27/95, Fulton Book 20197, Page 243.

     8.      On    2/18/98,      the    Wises        executed      and     delivered        a

promissory      note    to   Defendant       American       National     Home     Mortgage

[ANHM]    for     the   principal      sum    of    $247,500.00,         for    which   the

Property     was   secured     as   collateral        for    the   AHMN        Note   per   a

Security Deed recorded 4/9/98, Book 24334, Page 1.



                                             2
      Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 3 of 10



    9.    The 1998 Note and Security Deed were never transferred

and/or assigned by Defendant AHNM to another person or entity,

which appear to lack a witness signature, contrary to O.C.G.A. §

44-14-33 and 44-14-61.

    10.   On    or     about     3/16/01,       AHNM    was     administratively

dissolved by the Tennessee Secretary of State and can no longer

conduct business in any state.

    11.   On    1/15/02,       Tyler     C.     McCain,      Esq.    executed     an

affidavit, recorded 2/4/02, Book 31791, Page 521-522, affirming

the 1998 Note and Security Deed were satisfied at the closing of

another loan by the Wises on 5/4/99, for which a cancellation

was not recorded by Defendant AHNM, despite a request to do so.

    12.   On    1/16/02,       the    Wises     negotiated     a    note   for   the

principal sum of $36,000.00 to IBM Southern Employees Federal

Credit Union, for which the Property was secured as collateral

by a Security Deed recorded 2/4/02, Book 31791, Page 523.

    13.   On    12/30/03,      the     Wises    negotiated     a    note   for   the

principal sum of $292,000.00 to IndyMac for which the Property

was secured as collateral by a Security Deed recorded 12/30/03,

Book 37119, Page 682.

    14.   On    4/8/11,    IBM       executed    a   Subordination     Agreement,

subordinating    its    2002     Security       Deed   to     the   2003   IndyMac

Security Deed, recorded 4/13/11, Book 49988, Page 1414.




                                         3
        Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 4 of 10



    15.     The 2011 IBM Agreement stipulated the 2003 Security

Deed was the sole first-position security deed in the Property,

which never mentioned or referenced the 1998 AHNM Security Deed.

    16.     The     1998   AHNM   Security         Deed    was   satisfied     by      2001

and/or to be cancelled by 2011.

    17.     On 6/8/11, FDIC, receiver for Indy Mac, transferred

and assigned the 2003 Note and Security Deed to Deutsche Bank,

Trustee    of    the    IndyMac    INDX       Mortgage      Loan    Trust    2004-ARI,

Mortgage     Pass      Through    Certificates,           Series    2004-ARI      by     an

assignment dated 6/8/11, recorded 6/28/11, Book 50170, Page. 1.

    18.     On    9/6/11,     Deutsche        Bank    conducted      a     non-judicial

foreclosure sale of the Property, per the 2003 Security Deed,

foreclosing all subordinate interests in the Property, per a

Deed under Power recorded 10/10/11, Book 50469, Page 29.

    19.     On 7/31/12, Deutsche Bank executed a Special Warranty

Deed,   conveying       the   Property        to    Defendant      Mobley,     recorded

8/30/12, Book 51595, Page 509.

    20.     On 7/31/12, Defendant Mobley executed and delivered a

promissory note for the principal sum of $117,826.00 to Mortgage

Electronic      Registration      Systems      [MERS]      as    nominee    for   Lender

Prospect Mortgage, LLC, funding his purchase of the Property.

    21.     The Property was secured as collateral for the 2012

Note by a Security Deed executed by Defendant Mobley on 7/31/12,

recorded 8/30/12, Book 51595, Page 511.



                                          4
      Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 5 of 10



     22.   On 12/17/12, Defendant Georgia Department of Revenue

[GDOR] recorded a tax lien for $1,055.27 in income taxes against

Defendant Mobley, Fulton Lien Book 2543, Page 83.

     23.   On    9/9/15,   MERS,    nominee     for   Prospect,   executed    an

Assignment, transferring/assigning the 2012 Note                  and   Security

Deed to Prospect, recorded 9/15/15, Book 55380, Page 329.

     24.   On     3/22/16,     Prospect        executed      an    Assignment,

transferring and assigning the 2012 Note and Security Deed to

Plaintiff, recorded 4/5/16, Deed Book 56086, Page 88.

     25.   On 9/6/16, Defendant United States recorded a federal

tax lien for $91,738.91 in income taxes as to Defendant Mobley,

Fulton Lien Book, 3696, Page 85, listing his address as the

Property, executed 8/27/16 by Cheryl Gardner for P.A. Belton.

     26.   Plaintiff held and owned its Note and Security Deed and

had standing to enforce them since before commencing this action.

     27.   All    interests    in     the      Property   are     subject    to,

subordinate and inferior to Plaintiff’s Security Deed.

     28.   All    conditions       precedent     to   suit   occurred,      were

fulfilled, waived and/or their occurrence and/or fulfillment was

unnecessary and/or futile.




                                       5
        Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 6 of 10



                      COUNT I: TITLE TO REAL PROPERTY AND
                     RELATED RELIEF AGAINST ALL DEFENDANTS

      29.     ¶ 1-28 are incorporated by reference.

      30.     Plaintiff’s Security Deed was intended as the senior

interest in the Property, the intended collateral for its Note,

which funded the purchase of the Property by Defendant Mobley.

      31.     The 1998 Security Deed of Defendant AHNM was satisfied

and/or should have been cancelled, per the 2001 dissolution of

AHNM and/or per the 2002 Affidavit and/or 2011 Agreement.

      32.     The   1998    Security    Deed   is   null,   void     and   invalid,

which      improperly/erroneously       encumbers    and    clouds    Plaintiff’s

title to the Property as an alleged prior security deed which

Plaintiff lacks an adequate legal remedy to address.

      33.     Per 28 U.S.C. § 2201 et seq, O.C.G.A. § 23-1-1 et seq,

O.C.G.A. § 44-2-40 et seq and applicable principles, Plaintiff

requests the Court declare, establish and quiet its senior title

to   the    Property,      cancelling   and    removing     the   satisfied    1998

Security Deed from title to the Property.

             COUNT II: JUDICIAL FORECLOSURE OF REAL PROPERTY
                AND RELATED RELIEF AGAINST ALL DEFENDANTS

      34.     ¶ 1-28 and ¶ 33 are incorporated by reference.

      35.     Defendant Mobley breached Plaintiff’s Note and Security

Deed, failed to make payments on them and did not otherwise comply

with their terms.




                                         6
       Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 7 of 10



     36.    Plaintiff accelerated the principal balance of its Note

and Security Deed, of which Defendant Mobley was given notice

and/or notice was not required and/or is futile.

     37. Per 28 U.S.C. § 2001 and § 2201 et seq, O.C.G.A. 44-14-

49   and   applicable    principles,       Plaintiff     requests   the    Court

declare, establish and judicially foreclose its senior interest

in the Property, its fixtures, appurtenances, rents, contents

and insurance for the principal sum of its Note and Security

Deed, plus interest, charges, expenses, costs and fees, taxes

and abstracting, in which all other claims and interests are

inferior,    subordinate,   barred,        foreclosed    and   quieted    to   all

right, title, interest and equity of redemption.

               COUNT III: POSSESSION AND RELATED RELIEF
              AGAINST DEFENDANT MOBLEY AND/OR ALL OTHERS

     38.    ¶ 1-27, ¶ 33 and ¶ 37 are incorporated by reference.

     39.    Defendant Mobley and/or all others occupy and possess

the Property, of which Plaintiff and/or any purchaser at sale is

entitled to post-sale possession.

     40.    Per Fed. R. Civ. P. 64-65,            O.C.G.A. § 44-11-1           and

applicable principles, Plaintiff requests the Court award sole

possession    of   the   Property     to     Plaintiff    and/or    any    other

purchaser at sale, ejecting Defendant Mobley and/or any others.




                                       7
        Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 8 of 10



       COUNT IV: ENFORCEMENT OF INSTRUMENTS AND RELATED RELIEF
                       AGAINST DEFENDANT MOBLEY

       41.    ¶ 1-27, ¶ 35-37 are incorporated by reference.

       42.    Plaintiff’s Note and Security Deed are in default and

Defendant     Mobley      is   indebted       to   Plaintiff    for   their   full,

accelerated balance.

       43.    Plaintiff requests that the Court award damages as to

Defendant Mobley for the full principal due on the its Note and

Security Deed, exceeding $76,000.00, plus pre and post-judgment

interest, attorney’s fees and costs.

       44.    Per O.C.G.A. § 13-1-11, Defendant Mobley is notified

that, unless all principal, interest and other charges due to

Plaintiff under its Note and Security Deed are paid within ten

(10)   days    of   the    date   of   service       of   the   Complaint,     then

Plaintiff shall be entitled to enforce and invoke the attorney's

fees provisions of these instruments and Mobley shall be further

indebted to Plaintiff for attorney's fees and costs.

       45.    Defendant Mobley is not currently in and has not been

in the military for the last 30 days and is not subject to

protection by the Service Members Civil Relief Act.




                                          8
      Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 9 of 10



    WHEREFORE, Plaintiff prays for the following relief:

    a) Under Count I, that the Court declare, establish and

quiet Plaintiff’s senior title in the Property, cancelling and

removing the       satisfied   1998 Security Deed           from title to the

Property; and

    b)      Under Count II, that the Court declare, establish and

judicially    foreclose        Plaintiff’s       senior     interest       in    the

Property,    its    fixtures,     appurtenances,          rents,   contents      and

insurance for the principal sum of Plaintiff’s Note and Security

Deed, plus interest, charges, expenses, costs and fees, taxes

and abstracting, in which all other claims and interests are

inferior,    subordinate,      barred,       foreclosed    and   quieted   to    all

right, title, interest and equity of redemption; and

    c)      Under Count III, the Court award sole possession of

the Property to Plaintiff and/or any other purchaser at sale,

ejecting Defendant Mobley and/or any others; and

    d)      Under    Count     IV,   the      Court   award      damages    as    to

Defendant Mobley for the full principal due on the its Note and

Security Deed, exceeding $76,000.00, plus pre and post-judgment

interest, attorney’s fees and costs; and

    e)      All other just and proper relief.

                    L.R. 5.1 (C) CERTIFICATE OF COMPLIANCE

    Per L.R. 5.1(C), I certify this pleading was prepared per

L.R. 5.1(B) in Courier New, 12 point typeface.



                                         9
Case 1:16-cv-04572-MHC Document 1 Filed 12/13/16 Page 10 of 10



Respectfully submitted this 13th day of December, 2016.

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                             10
